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                                                  Attorneys for Defendant
                                                  X CORP. AS SUCCESSOR IN
                                                  INTEREST TO TWITTER, INC.

                           UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                  SAN FRANCISCO DIVISION


MARK SCHOBINGER, on behalf of himself          Case No. 3:23-cv-03007-VC
and all others similarly situated,
                                               STIPULATION AND [PROPOSED]
                     Plaintiff,                ORDER REGARDING DEFENDANT’S
                                               DEADLINE TO RESPOND TO
              vs.                              PLAINTIFF’S ADMINISTRATIVE
                                               MOTION RE SEALING
TWITTER, INC. and X CORP.,

                     Defendants.




                                                         STIP AND [PROPOSED] ORDER RE
                                                        DEADLINE TO RESPOND TO ADMIN
                                                                    MOTION RE SEALING
                                                               CASE NO. 3:23-CV-03007-VC
           Case 3:23-cv-03007-VC Document 78 Filed 08/28/24 Page 2 of 4



         Pursuant to Civil Local Rule 6-2, Plaintiff Mark Schobinger (“Plaintiff”) and Defendant

X Corp., on its own behalf and as successor in interest to Defendant Twitter, Inc. (hereinafter

“Defendant”) (Plaintiff and Defendant shall collectively be referred to as the “Parties”), by and

through their undersigned counsel, hereby stipulate and agree as follows:

         WHEREAS, on Friday, August 23, 2024, Plaintiff filed a Motion for Class Certification

(Dkt. 75) and an Administrative Motion to Consider Whether Another Party’s Material Should

be Sealed in connection with his Certification Motion (“Sealing Motion”) (Dkt. 76). Plaintiff did

not serve the unredacted materials that he lodged conditionally under seal on that date.

         WHEREAS, on Saturday, August 24, 2024, Plaintiff served copies of the unredacted

versions of the materials that he lodged conditionally under seal in support of the Certification

Motion; and

         WHEREAS, the Parties agree that Defendant’s response to the Sealing Motion is due on

September 3, 2024 (i.e., seven days after Plaintiff provided Defendant with copies of the

unredacted materials, advanced by one day in recognition of the Labor Day holiday that falls on

the seventh day), see Local Rule 79-5(f)(3).

         NOW, THEREFORE, the Parties hereby stipulate as follows, subject to the Court’s

approval: Defendant’s response to Plaintiff’s Sealing Motion is due September 3, 2024.

         IT IS SO STIPULATED.



Dated:          August 27, 2024                MARK SCHOBINGER

                                               By his attorneys,

                                               /s/ Shannon Liss-Riordan
                                               Shannon Liss-Riordan, SBN 310719
                                               Bradley Manewith (pro hac vice forthcoming)
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                                                                     STIP AND [PROPOSED] ORDER RE
                                                                    DEADLINE TO RESPOND TO ADMIN
                                                  1                             MOTION RE SEALING
                                                                             Case No. 3:23-cv-03007-VC
            Case 3:23-cv-03007-VC Document 78 Filed 08/28/24 Page 3 of 4




Dated:          August 27, 2024                 X CORP. as successor in interest to
                                                TWITTER, INC.

                                                By their attorneys,

                                                /s/ Brian D. Berry
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                                     FILER’S ATTESTATION

         I hereby attest that all signatories listed, and on whose behalf this filing is submitted,

concur in the filing’s content and have authorized the filing.




Dated:          August 27, 2024                         /s/ Brian D. Berry
                                                        Brian D. Berry




                                                                        STIP AND [PROPOSED] ORDER RE
                                                                       DEADLINE TO RESPOND TO ADMIN
                                                    2                              MOTION RE SEALING
                                                                                Case No. 3:23-cv-03007-VC
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                                    [PROPOSED] ORDER

       Pursuant to the Parties’ Stipulation and for GOOD CAUSE appearing, the Court hereby

orders that Defendant’s response to Plaintiff’s Sealing Motion is due September 3, 2024.



         August 28, 2024
Dated: _________________________                    _______________________________
                                                    HONORABLE VINCE CHHABRIA
                                                    UNITED STATES DISTRICT JUDGE




                                                                   STIP AND [PROPOSED] ORDER RE
                                                                  DEADLINE TO RESPOND TO ADMIN
                                                3                             MOTION RE SEALING
                                                                           Case No. 3:23-cv-03007-VC
